                                                   THE HONORABLE BRIAN D. LYNCH
 1                                                 CHAPTER 13
                                                   HEARING DATE: April 10, 2019
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                                                   HEARING TIME: 1:30 P.M.
 3                                                 LOCATION: Tacoma, Washington
                                                   RESPONSE DATE: April 3, 2019
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10                   IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
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12    In re:                                      Case No.: 19-40411-BDL
13    ETHAN RICHARD AMES,                         OBJECTION TO CONFIRMATION WITH
                                                  STRICT COMPLIANCE
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15
                                        Debtor.

16             COMES NOW, Michael G. Malaier, Chapter 13 Standing Trustee, and objects to
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     confirmation as follows:
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                                             BACKGROUND
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               Debtor filed this Chapter 13 case on February 14, 2019. The applicable commitment
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     period is sixty months. The case is currently in the first month and the Meeting of Creditors has
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     not yet been completed. The bar date for filing non-governmental claims is April 25, 2019.
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     Scheduled unsecured claims total $76,850.00, and scheduled priority claims total $24,500.00.
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     The Trustee estimates that under the proposed plan general unsecured creditors will receive
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25   approximately $0.00.
                                                                                    Michael G. Malaier
                                                                            Chapter 13 Standing Trustee
     OBJECTION TO CONFIRMATION                                                   2122 Commerce Street
                                                  -1                               Tacoma, WA 98402
                                                                                        (253) 572-6600
 1
                                              OBJECTION
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 3      ☒ Schedules or other documentation insufficient:

 4              (1) Debtor’s employer pays for his vehicle loan. Trustee would like review Debtors
                    paystubs for the CMI period and also like to have the Debtor advise if the
 5                  monthly car payment was included in the CMI calculation as it would be income
                    to the Debtor.
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                (2) Debtor pays $180.00 per month for the use of a trailer. That expense is not listed
 7                  on Schedule J and Schedule J should be amended to include it.
 8          WHEREFORE, Trustee requests that the objection to confirmation be sustained and

 9   debtor be ordered to file a motion to confirm a plan resolving the issues raised herein within 14
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     days of entry of the Order Sustaining Trustee’s Objection to Confirmation; and to set the
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     hearing on the next available motion calendar after the 14 days expires. If the Motion to
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     Confirm resolving the Trustee’s issues is not filed and set for hearing as outlined above, the
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     Trustee requests he be allowed to enter an order dismissing the case, ex parte, without notice.
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15          DATED this 26th day of March, 2019.
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                                                      /s/ Mathew S. LaCroix
18                                                    Mathew S. LaCroix, WSBA# 41847 for
                                                      Michael G. Malaier, Chapter 13 Trustee
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                                                                                    Michael G. Malaier
                                                                            Chapter 13 Standing Trustee
     OBJECTION TO CONFIRMATION                                                   2122 Commerce Street
                                                 -2                                Tacoma, WA 98402
                                                                                        (253) 572-6600
